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AO 455 (Rev. 01/09) Waiver of an Indictment

UNITED STATES DISTRICT COURT

for the
Western District of New York

ZO STATES DISTRIGS

PICcew

United States of America
v.
FELICIA COLLINS a/k/a Keisha Brown a/k/a Keisha,

Case No. 24-CR-6086-FPG

Nee Ne es

Defendant

WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.

Date: 10/30/2024 A Nena
GOS

Defendant's signature

LEC -

Signature Veen 's attorney

/__\___ Pat cUERRIERI, Esa.
nee

nied} ~ of defendant's attorney

# | / Judge |
HON. FRANK P. GERACI, UR., U.S.D.J.

Judge ’s printed name dnd title

